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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

ADVENT INTERNATIONAL
CORPORATION,
                                                   Misc. Case No.:
                      Petitioner,
                                                   Underlying Action:
v.
                                                   Servicios Funerarios GG, S.A. de C.V. v.
ANDRE EL-MANN ARAZI, GONZALO
                                                   Advent International Corporation, Case No.
PEDRO ROBINA IBARRA, FIBRA UNO
                                                   23-CV-10684-IT (D. Mass.)
ADMINISTRACION S.A. DE C.V.,

                      Respondents.


                PETITIONER’S MOTION TO COMPEL
ANDRE EL-MANN ARAZI, GONZALO PEDRO ROBINA IBARRA, AND FIBRA UNO
ADMINISTRACION S.A. DE C.V. TO COMPLY WITH PETITIONER’S SUBPOENAS

       Pursuant to Federal Rule of Civil Procedure 45, Petitioner Advent International

Corporation, n/k/a Advent International, L.P. (“AIC”), respectfully moves for an order compelling

Respondents Andre El-Mann Arazi, Gonzalo Pedro Robina Ibarra, and Fibra Uno Administracion

S.A. de C.V. (“Fibra Uno”) to comply with the subpoenas duces tecum and subpoenas ad

testificandum served on Messrs. El-Mann, Robina, and Fibra Uno (together, the “Fibra Uno

Parties”) on November 14 and 15, 2023 in connection with Servicios Funerarios GG, S.A. de C.V.

v. Advent International Corporation, Case No. 23-CV-10684-IT (D. Mass.) (the “Massachusetts

Action”). The Fibra Uno Parties share counsel and are non-parties to the Massachusetts Action.

       AIC has conferred with the Fibra Uno Parties in a good-faith attempt to obtain the requested

documents and depositions without the Court’s intervention. The Fibra Uno Parties responded to

the subpoenas with general, blanket objections, refusing to produce any documents or to provide

any witnesses for deposition. Despite AIC’s attempts to reach a resolution, the Fibra Uno Parties

have continued to refuse to comply based on a purported absence of jurisdiction, a lack of control
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over documents, and undue burden (regardless of the deposition location). AIC disagrees with

each of these objections and respectfully moves the Court for an order (i) compelling the Fibra

Uno Parties to comply with the subpoenas duces tecum by no later than February 29, 2024, and

(ii) compelling the Fibra Uno Parties to comply with the subpoenas ad testificandum by no later

than April 19, 2024.




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Dated: January 10, 2024

Respectfully submitted,

/s/ Peter L. Welsh
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